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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    09/24/2021
                                                                                                    CT Log Number 540303337
TO:         Jeremy Kilburn
            Wayne Farms LLC
            4110 Continental Dr
            Oakwood, GA 30566-2800

RE:         Process Served in Mississippi

FOR:        Wayne Farms LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: FAYE JACKSON o/b/o MARY JONES // To: Wayne Farms LLC
                                                  Name discrepancy noted.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # 202167CV7
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Flowood, MS
DATE AND HOUR OF SERVICE:                         By Process Server on 09/24/2021 at 14:49
JURISDICTION SERVED :                             Mississippi
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 09/24/2021, Expected Purge Date:
                                                  09/29/2021

                                                  Image SOP

                                                  Email Notification, Jeremy Kilburn jeremy.kilburn@waynefarms.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  645 Lakeland East Drive
                                                  Suite 101
                                                  Flowood, MS 39232
                                                  866-401-8252
                                                  EastTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                                                                             Batch #510116616 Seq #12 Tracking i
               IN THE CIRCUIT COURT OF JONES COUNTY,MISSISSIPPI
                           SECOND JUDICIAL DISTRICT
FAYE JACKSON•o/b/o
MARY JONES                                                                       PLAINTIFF
VS.                                                              CAUSE NO.: aal           b7;CVI

WAYNE FARMS,LLC;AND
JOHN DOES140                                                                       DEFENDANT                                Lf.
                                             SUMMONS
STATE OF MISISS1 1                                                                                                     2•
                                                                                                                            a
COUNTY OF JONES                                                                                                           4
                                                                                                                          -

        TO:     Wayne Farms
                Attn: C.T. Corporation System
                645 Lakeland East Drive, Suite 101
                Flowcod, Mississippi 39301 or wherever they maybe found.

                     NOTICE TO DEFENDANT
THE COMPLAINT AN])DISCOVERY WHICH IS ATTACHED TO THIS SUMMONS
ISIMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION TO PROTECT
YOUR RIGHTS.
         You are iiquired to mail orhand-deliver a copy of a written response to Martin R. Jelliffe, Esq,
ettomey for the Plaintiff, whose address is MORGAN & MORGAN,PLLC,4450 Old Canton Road,
Suite 200,Jackson, Mississippi 39211. Your response must be mailed or delivered within thirty(30)days
from the date of delivery ofthis Summons and Complaint or ajudgment by default will be entered against
 you for the money or other things demanded in the Complaint. Your written responses to the Discovery
 which is simultaneously being served with the Complaint must be mailed or delivered within forty-five
(45)days from the pate ofdelivery ofthis Summons and Complaint.
        You must also file the original of your responses with the Clerk of this Court within a reasonable
 time afterward. c;
        Issued, under my hand and the seal of said Court,this(
                                                             91            day o                   2021.

                                  '''''''''' HONORABLE CONCETTA.BROOKS
                                        *.t JONES COUNTY CIRCUIT CLERK
                                            I-1"a
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                               attommito"
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                                                                                                          Batch #510116616 Seq #12 Tracking #
               IN THE CIRCUIT COURT OF JONES COUNTY,MISSISSIPPI
                           SECOND JUDICIAL DISTRICT


FAYE JACKSON o/b/o
MARY JONES                                                                   PLAINTIFF

 VS.                                                  CIVIL ACTION NO. <9 Dal - (f7-Lv7

 WAYNE FARMS,LLC;
 AND JOHN DOES 1-10                                                          DEFENDANT

                                      COMPLAINT
                                (JURY TRIAL REQUESTED)

         COMES NOW,the Plaintiff, Faye Jackson o/b/o Mary Jones,(hereinafter "Plaintiff'), by

 and through her counsel of record, and hereby files this Complaint against Wayne Farms, LLC

(sometimes herein referred to as Defendant), and in support thereof states as follows:

                                            I.PARTIES

         1.    The Plaintiff Mary Jones, is an adult citizen of Jones County, Mississippi. Faye

 Jackson is Plaintiffs daughter and has Power of Attorney to file this Complaint on behalf of

 William Jones.

         2.    The Defendant, Wayne Farms, LLC, is a Limited Partnership incorporated in the

 State of Ohio, and doing business in the State of Mississippi, whose agent for service of process is

 C T Corporation System located at 645 Lakeland East Drive, Suite 101, Flowood, Mississippi

 39232 or wherever they may be found.

         3.     Defendants, John Does 1-10, are other Defendants whose names, whereabouts,

 and/or involvement are at this time unknown to the Plaintiff but who may be added at a later date.

 John Does 1-10 include the owners, operators, managers, and all other entities, corporate and/or

 individuals of the Defendant, Wayne Farms, LLC, and/or other persons, entities, and/or

                                                                                     P OIRED
                                                                                          JUL 2 9 2021
                                                                                     CONCETTA BROOKS
                                                                                       CIRCUIT CLERK
                                                                                       JONES COUNTY, MS
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corporations that were in some manner negligently and proximately responsible for the events and

happenings alleged in this Complaint and for Plaintiff's injuries and damages.

                              II. JURISDICTION AND VENUE

       4.      This Court has jurisdiction ofthe parties and the subject matter ofthis action, Venue

is proper as this Civil action arises out ofnegligence acts and omissions committea in Jones County,

Mississippi, and the cause of action occurred and/or accrued in Jones County, Mississippi.

                1                          III. FACTS

       5.      The Plaintiff adopts and herein incorporates by reference every allegation as set

forth above.

       6.      At all times mentioned in this Complaint, the Defendant, Wayne Farms,LLC,

managed, leased and/or owned and operated a chemical plant within the geographical boundaries

ofJones County,:• Mississippi, located at 525 Wayne Drive, Laurel, Mississippi 39440.

       7.      Or? or about January 27, 2019, Plaintiff, Mary Jones, was on her own property in

her house located Within the geographical boundaries of Jones County, Mississippi, located at

600 Mississippi Avenue, Laurel, Mississippi 39440, when suddenly, and without warning, the

Defendant's chemical plant had an explosion that negligently released ammonia fumes that

engulfed the surrounding area, including Plaintiffs property. As a result Plaintiff suffered upper

respiratory problerns.

       8.      At said time and place, Defendant, as owner and/or operator of the chemical
                  -
plant, owed a duty to the Plaintiff to keep the premises in a reasonably safe condition, to warn

the Plaintiff of any dangerous conditions not readily apparent of which it knew or should have

known in the exercise of reasonable care, to conduct reasonable inspections to discover

dangerous conditions existing on the premises, to correct any such dangerous conditions, to



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                                                                                                         Ji'TPAS,9T99TTOTS#
prevent dangerous chemicals from escaping the chemical plant, and to prevent explosions.

       9.      The Defendant as owner and/or operator ofthe chemical plant located in the

vicinity ofthe Plaintiff breached the duties owed to the Plaintiff by:

               a)     Negligently failing to maintain or adequately maintain the chemical plant,
                      thus creating a hazard to members of the public utilizing said premises,
                      including the Plaintiff herein, thus creating an unreasonably dangerous
                      condition for Plaintiff;

                      Negligently allowing an explosion to occur, thus creating an unreasonably
                      dangerous condition for Plaintiff;

                      Negligently failing to inspect or adequately inspect the chemical plant, as
                      specified above, to ascertain whether the plant, which was poorly
                      maintained, constituted a hazard to surrounding civilians including the
                      Plaintiff herein, thus creating an unreasonably dangerous condition to. the
                      Plaintiff;

                      Negligently failing to inspect or adequately warn the Plaintiff ofthe danger
                      of the explosion, when Defendant knew or through the exercise of
                      reasonable care should have known that said explosion was unreasonably
                      dangerous and that Plaintiff was unaware ofsame;

               e)1     Negligently failing to have adequate staff on duty and/or assigned to the task
                       of inspecting and/or maintaining the plant for dangerous conditions;

                       Negligently failing to train and/or inadequately training its employees to
                       inspect, maintain, and/or repair the Defendant's premises for dangerous
                       conditions;

               g)      Negligently failing to follow its own corporate policy(ies) regarding the
                       dangerous condition;
                                                                                                  .•
                       Negligently failing to have adequate policies in place to identify dangerous
                       conditions that caused the explosion and released at the subject location
                       caused by dangerous chemical;

                       Negligently failing to have adequate policies in place to identify and correct
                       dangerous conditions that caused the explosion and release of chemicals
                       without any warnings to Plaintiff, that were not timely identified by
                       Defendant's employees and corrected/remedied;

              j)       Negligently failing to act reasonably under the circumstances;



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               k)      Negligently engaging in a mode of operations when Defendant knew, or
                       should have known, that said mode of operations would result in dangerous
                       conditions to the general public, including the Plaintiff herein; and

                       Negligently engaging in routine or regular practice of business that was not
                       the reasonable custom of the community.


       10.     Further, Defendant, Wayne Farms, LLC, was negligent through the actions and

inactions of it agents, representatives, and/or employees. The negligence ofthe Defendant

includes, but is not necessarily limited to, the following:

       a. Failure to adequately inquire into the competence of employees and/or others, if any,

       that were'responsible for maintaining safe conditions at the chemical plant;

       b. Failure to adequately train and supervise employees and/or others, if any, that were.

       responsible for maintaining safe conditions at the chemical plant, including preventing an

       explosion;

       c. Failure, to comply with industry standards/regulations and the law of the State of

       Mississippi; and

       d. Other aets of negligence to be shown at the trial of this cause.

        1 1.   As, direct and proximate results ofthe negligence of the Defendant as set forth

above, the Plaintiff sustained injuries and damages including, but not limited to, physical

injuries; past, present, and future pain and suffering; past, present, and future medical expenses;

and other damages that will be proved at the trial of this matter.

                                      PRAYER OF RELIEF

       WHEREFORE,PREMISES CONSIDERED,the Plaintiff, Faye Jackson 0/b/o Mary

Jones, requests a trial by jury and demands damages including actual, compensatory,

consequential, anollincidental damages,for physical injuries; past, present, and future physical



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                                                                                     #:OppiapilZt.baS 9199110TS# 432#9
and any further 'relief as the Court may deem proper.   00A

       RESPECTFULLY SUBMITTED,this the                  day of July, 2021.

                                                    FAYE JACKSON o/b/o MARY JONES,
                                                    PLAINTIFF




                                                                                              kaS,SI991-Xi Sg tpx up
                                             BY:
                                                    HARRY M:
                                                           . McCUMBER
OF COUNSEL:;

MORGAN & MORGAN,PLLC
Harry M.McCumber, ESQ., MSB#10632
4450 Old Canton'Road, Suite 200
Jackson, Mississippi 39211
Telephone:(601) 718-0921
Facsimile:(601) 503-1650
Email: hmccumber forthepeople.com




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